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829-001-00
                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION

SARAH MCCURRY and DWAN WILLS                       )
on behalf of themselves and all other              )
similarly situated employees,                      )
                                                   )
        Plaintiffs,                                )
                                                   )
v.                                                 )              No: 1:17-cv-01010
                                                   )              Jury Demanded
BELLS NURSING HOME, INC. d/b/a                     )              FLSA Collective Action
BELLS NURSING AND REHABILITATION                   )
CENTER, CROCKETT COUNTY NURSING                    )
HOME, INC. d/b/a ALAMO NURSING AND                 )
REHABILITATION CENTER, and                         )
HARBER-LAMAN, LLC,                                 )
                                                   )
        Defendants.                                )


 MEMORANDUM IN SUPPORT OF DEFENDANTS’ PARTIAL MOTION TO DISMISS


        Defendants, Harber-Laman, LLC, Crockett County Nursing Home, Inc. d/b/a Alamo

Nursing and Rehabilitation Center, and Bells Nursing Home, Inc. d/b/a Bells Nursing and

Rehabilitation Center, and (hereinafter referred to as “Defendants”) by and through undersigned

counsel, respectfully submit the following Memorandum of Law in Support of their Motion to

Dismiss.


                                          BACKGROUND


        On January 12, 2017, Plaintiffs, Sarah McCurry (“McCurry”) and Dwan Wills (“Wills”),

filed this action, pursuant to the Fair Labor Standards Act (“FLSA”) against Defendants Crockett

County Nursing Home, Inc. d/b/a Alamo Nursing and Rehabilitation Center and Bells Nursing

Home, Inc. d/b/a Bells Nursing Home and Rehabilitation Center, both of which, “upon
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information and belief,” are operated by Defendant Harber-Laman, LLC. [See D.E. 1]. Wills

alleges that she is currently an employee of Defendants, while McCurry admits that she is no

longer employed by Defendants. Id. However, both individuals claim that “[u]pon information

and belief, [they] worked in excess of forty (40) hours per week on repeated occasions” and were

not properly compensated, as required by the FLSA. [D.E. 1, ¶ 36].

                              MOTION TO DISMISS STANDARD

       In order to survive a motion to dismiss for failure to state a claim pursuant to Fed. R. Civ.

P. 12(b)(6), a complaint must “contain sufficient factual matter, accepted as true, to state a claim

for relief that is plausible upon its face.” See Courie v. Alcoa, 577 F.3d 625, 629-30 (6th Cir.

2009) (quoting Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949, 173 L.Ed.2d 868 (2009) (internal

punctuation omitted). Courts must view the complaint in a light most favorable to the Plaintiff

and accept all factual allegations as true. See Patterson v. Novartis Pharms. Corp., 451 Fed

App’x 495, 497 (6th Cir. 2011) (holding the same standard applies to motions to dismiss for

failure to state a claim and a motion for judgment on the pleadings). “Merely pleading facts that

are consistent with a defendant’s liability or that permit the court to infer misconduct is

insufficient.” Id. The Court “need not accept as true legal conclusion or unwarranted factual

inferences.” Id. (internal punctuation omitted). Finally, a plaintiff cannot merely list a party as a

defendant and fail to identify what actions or omissions that party took to give rise to the

plaintiff’s claims. See Nelson v. Putnam County Justice Ctr., 2013 U.S. Dist. LEXIS 54396,

2013 WL 1623686 at *10-11 (M.D. Tenn. 2013) (While applying the Fed. R. Civ. P. 12(b)(6)

standard to a review of plaintiff’s claims under 28 U.S.C. § 1915(a), the court dismissed

plaintiff’s civil rights claims against two individuals when the complaint did not identify what

specific actions the individuals took against the plaintiff).
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                                     LAW & ARGUMENT

       A.      ANY CLAIMS BASED UPON ALLEGED            VIOLATIONS OF THE       FLSA    PRIOR TO
               JANUARY 12, 2015 ARE TIME BARRED.

       “Under 29 U.S.C. § 255(a), a two-year statute of limitation applies to a cause of action

brought under the FLSA for unpaid overtime compensation….” Lopez-Gomez v. Jim's Place,

LLC, 2015 U.S. Dist. LEXIS 89557, *16 (W.D. Tenn. July 10, 2015). The three-year statute of

limitation only applies where the plaintiff proves by a preponderance of the evidence that the

employer’s violation was willful. See McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133-35

(1988). In order for a violation to be deemed willful, the plaintiff must show “that the employer

either knew or showed reckless disregard for the matter of whether its conduct was prohibited by

the statute….” Id. at 133. This Court has reiterated, “An employer who merely acts unreasonably

or negligently towards an employee in violation of the FLSA, however, does not act willfully.”

Lopez-Gomez, 2015 U.S. Dist. LEXIS 89557 at *16 (citing Elwell v. Univ. Hosps. Home Care

Servs., 276 F.3d 832, 842 (6th Cir. 2002)). Further, “[a] cause of action is deemed to accrue, as a

general rule, at each regular payday immediately following the work period during which the

services were rendered for which the wage or overtime compensation is claimed.” Boaz v. Fed.

Express Corp., 107 F. Supp. 3d 861, 892 (W.D. Tenn. 2015).

       In this matter, Plaintiffs, in a conclusory manner, allege that “Defendants’ intentional

failure to pay Plaintiffs and other similarly situated employees the applicable minimum wages

and the FLSA within the meaning of 29 U.S.C. §255(a), as Defendants knew, or showed reckless

disregard for the fact that its compensation practices were in violation of these laws.” [D.E. 1,

pp. 8-9, ¶ 42]. However, other than inserting the aforementioned boilerplate language within

their Complaint, Plaintiffs fail to plead sufficient facts to establish that Defendants knew or

showed reckless disregard with regard to the alleged FLSA violations. Therefore, because
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Plaintiffs filed their Complaint on January 12, 2017, any alleged claims occurring prior to

January 12, 2015 are barred by the applicable two (2) year statute of limitation and should be

dismissed accordingly.

       B.      PLAINTIFFS FAIL TO PLEAD SUFFICIENT FACTS TO INITIATE A COLLECTIVE
               ACTION UNDER THE FLSA.

       “A plaintiff seeking to certify a collective action bears the burden of establishing that he

and the proposed class he seeks to represent are similarly situated.” Ross v. Jack Rabbit Servs.,

LLC, 2014 U.S. Dist. LEXIS 72950, *7-8 (W.D. Ky. May 29, 2014) (referencing Jones-Turner v.

Yellow Enter. Sys., LLC, 2007 U.S. Dist. LEXIS 79414 (W.D. Ky. Oct. 25, 2007)). The Sixth

Circuit has “implicitly upheld a two-step procedure for determining whether an FLSA case

should proceed as a collective action.” Heibel v. U.S. Bank Nat'l Ass'n, 2012 U.S. Dist. LEXIS

139510 (S.D. Ohio Sept. 27, 2012) (citing In re HCR ManorCare, Inc., 2011 U.S. App. LEXIS

26241 (6th Cir. Sept. 28, 2011)); see also Watson v. Advanced Distrib. Servs., LLC, 298 F.R.D.

558 (M.D. Tenn. 2014)). During the first step, the plaintiff bears the burden of showing that the

employees in the class are “similarly situated.” Comer, 454 F.3d at 546. The Sixth Circuit has

determined that “plaintiffs are similarly situated when they suffer from a single, FLSA-violating

policy, and when proof of that policy or of conduct in conformity with that policy proves a

violation as to all the plaintiffs.” O'Brien v. Ed Donnelly Enters., Inc., 575 F.3d 567, 585 (6th

Cir. 2009). Additionally, plaintiffs may also meet the similarly situated requirement if they can

demonstrate that “their claims [are] unified by common theories of defendants' statutory

violations, even if the proofs of these theories are inevitably individualized and distinct.” Id.; see

also Harrison v. McDonald's Corp., 411 F. Supp. 2d 862, 865-66 (S.D. Ohio 2005) (At this

stage, a plaintiff must establish a “colorable basis” for his allegation that others are similarly

situated and should therefore be notified of the action). Notably, factors that guide the Court's
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consideration of conditional certification at this stage include: (1) whether potential plaintiffs

were identified; (2) whether affidavits of potential plaintiffs were submitted; and, (3) whether

there is evidence of a “widespread” discriminatory plan affecting those plaintiffs, which was

maintained by defendants. See Castillo v. Morales, Inc., 302 F.R.D. 480, 486 (S.D. Ohio 2014);

Lewis v. Huntington Nat'l Bank, 789 F. Supp. 2d 863, 868 (S.D. Ohio 2011); Mehmedi v. La

Dolce Vita Bistro, LLC, 2010 U.S. Dist. LEXIS 122098 (N.D. Ohio Nov. 17, 2010).

       Here, Plaintiffs allege that they were employed by two separate employers, which “upon

information and belief” are operated by Defendant Harber-Laman, LLC, and that they were

underpaid based upon their individually specific biweekly work schedules. [See D.E. 1].

However, Plaintiffs offer no other facts whatsoever which would establish a “colorable basis” for

this Court to allow them to prosecute this matter as a collective action. Specifically, they have

failed to identify any other potential plaintiffs, have offered no other affidavits from potentially

similarly situated employees, and have not alleged that any facts to support a claim of a

“widespread discriminatory plan” affecting any other employees of their specific employers or of

Defendant Harber-Laman, LLC. As such, this Court should refuse to entertain Plaintiffs’ request

to initiate a fishing expedition without sufficient facts, and thus, should deny Plaintiffs’ request

to pursue this matter as a collective action.


                                          CONCLUSION

       Therefore, based upon the above and upon the record as a whole, Defendants respectfully

request this Court to dismiss the above claims from Plaintiffs’ Complaint.
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                                     Respectfully submitted,

                                     PENTECOST, GLENN, MAULDIN & YORK, PLLC

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon all counsel of record by electronic mail via the Court’s electronic filing system

          Jason J. Yasinsky
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       DATE: This the 27th day of February, 2017.

                                     PENTECOST, GLENN, MAULDIN & YORK, PLLC

                             By:     s/Donald D. Glenn
                                     Donald D. Glenn
